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                                                                                                                    212-277-5825
   VIAECF
                                                                                   June 17, 2021
   Hon. Colleen McMahon
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

              Re:      Sow et al. v. City Of New York et al.
                       Index No. 21-cv-00533 (CM)(GWG)

                       In re: New York City Policing During Summer 2020 Demonstrations,
                       Index No. _29-cv-S9.24~CM)(GWG)                        /J ~/
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   Your Honor:                                     ."                 "   L.   ,




            We are counsel to the Sow plaintiffs. We seek to represent the broadest putative class of
    individuals in the consolidated actions who were subjected to the unconstitutional acts by the
    City of New York during their Policing During Summer 2020 Demonstrations.

            We come before Your Honor seeking an extension of time to designate expert witnesses
    and to file for class certification. This is the first request for this relief and the defendants
    consent to these requests. 1

                                                         Current Date:                             Proposed Date:

    Designation of Expert Witnesses                      July 1, 2021                              September 1, 2021
    Expert Reports Exchanged                             September 1, 2021                         November 1, 2021
    Class certification motions                          September 10, 2021                        October 15, 2021



    1
      Sierra, Woods and Yates counsel all join in these requests . The People and Payne neither join nor oppose these
    requests.
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            The basis for this request is the defendants' failure to meaningfully engage in the
    discovery process. A full explanation of their recalcitrance, and the efforts to address the same,
    can be found at Dkt. No. 163. The defendants have produced only a handful of documents in
    response to plaintiffs' combined discovery demands and currently defendants are attempting to
    adequately respond to plaintiffs' interrogatories after their first two attempts have been wholly
    deficient. 2 The defendants have failed to even produce the documents the NYPD provided to the
    New York City Department oflnvestigation or to the Corporation Counsel which formed the
    basis ofreports issued by those City entities in 2020. 3 And defendants have refused to produce a
    single witness until July.

            Plaintiffs require an extension of time to designate expert witnesses as we do not have
    information on what policies of the defendants were in place during the relevant period, other
    than general references to the patrol guide. We are unable to fully vet and retain potential expert
    witnesses without this information. The first question we anticipate from prospective experts will
    be a request for policies to review. We do not have an answer to that question or relevant
    documents to share. Without this information, we cannot decide who should be retained to opine
    on the defendants' policies.

            Similarly, Plaintiffs require an extension of time to file for class certification for largely
    the same reason. The eleven plaintiffs in Sow were arrested in demonstrations from May 30th to
    June 4th at various locations throughout the City. We seek damages as well as declaratory and
    injunctive relief on behalf of putative classes that would include all individuals arrested between
    May 28 th and November 2020, as well as all people who have been or will be subjected to the
    NYPD's practices of violently disrupting protests in the future. To zealously represent this class
    of Plaintiffs and effectively brief these issues for Your Honor, we require both (i) fulsome and
    sufficient discovery, and (ii) the necessary time to process and organize that discovery into a
    comprehensive class certification motion.

            Plaintiffs have diligently sought discovery from the defendants. All Plaintiffs served their
    first consolidated set of discovery requests on March 25, 2021. Defendants' initial response on
    April 26, 2021 consisted solely of written objections with NO production of documents.
    Plaintiffs sent a deficiency letter on May 10, 2021, requesting a prompt meet and confer.
    Plaintiffs sent a second deficiency letter detailing all of the problems with the defendants'
    objections and lack of production. The parties met and conferred on multiple dates, and reached
    numerous agreements. One such agreement was for the Defendants to immediately begin
    weekly (and subsequently bi-weekly) rolling productions of documents. Unfortunately, the
    deficiency letters and meet and confers may have been a waste of hours and calendar time as the
    defendants did not begin weekly or bi-weekly rolling production or abide by many of the other
    2
      The defendants have produced some body-worn camera (BWC) footage for the plaintiffs who are being deposed as
    a condition of Plaintiffs' counsel producing their clients to testify. However, the defense has not produced all BWC
    and the schedule that was worked out to complete Plaintiff depositions by July 1 is in jeopardy as well.
    3
     Due to this failure and in an effort to exhaust all options to obtain the relevant discovery as soon as possible,
    Plaintiffs' counsel in the consolidated actions have served various third-party document subpoenas.
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    agreements reached at the May 21, 2021 meet and confer. The Plaintiffs quickly filed a motion
    to compel before Judge Gorenstein (Docket 163).

           At the conference before Judge Gorenstein, the defendants would not commit to a
    timetable for producing documents or responses to the discovery demands. A letter is due by the
    end of this week and Defendants made their first production of a little over 20 documents on
    Wednesday. While we are cautiously optimistic that the process before Judge Gorenstein will
    ultimately end the defendants' recalcitrance and meaningful document production will finally
    begin, even with swift production, the temporal prejudice caused by the defendants' lack of
    responses and discovery delay to date have forced Plaintiffs to make this request. The Plaintiffs
    do not make this request lightly, and continue to work diligently to comply with the discovery
    schedule set by your Honor. However, it would be incredibly unfair for the delay of the Defense
    be rewarded by prejudicing Plaintiffs' rights regarding their expert and class certification.

           We thank the Court for its consideration of this matter.

    Respectfully submitted,

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